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                     ',675,&72)&211(&7,&87
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ANDREW DEME

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,         5HVWLWXWLRQ/LDELOLW\
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       $ 5HVWLWXWLRQ$PRXQW

        7KH'HIHQGDQW
                          Andrew Deme
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 18 U.S.C. § 3663A

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               ✔      7KH&RXUWGRHVQRWRUGHUWKHLQFOXVLRQRISUHMXGJPHQWLQWHUHVW

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       % -RLQWDQG6HYHUDO/LDELOLW\

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                       Heaphy, Jr.

                      LQFDVHQXPEHUV3:18cr27(JAM) and 3:18cr32(JAM)

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                      5HVWLWXWLRQLVMRLQWDQGVHYHUDOZLWKGHIHQGDQWVQRWSUHVHQWO\QDPHG

                      5HVWLWXWLRQLVQRWMRLQWDQGVHYHUDOZLWKRWKHUGHIHQGDQWVRUZLWKRWKHUVQRWQDPHG
                      KHUHLQ

                              RSWLRQDO5DWKHUSXUVXDQWWR86&KWKH&RXUWKDVDSSRUWLRQHG
                               OLDELOLW\DPRQJWKHGHIHQGDQWVWRUHIOHFWWKHOHYHORIFRQWULEXWLRQWRWKH
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                               YLFWLP¶VORVVDQGWKHHFRQRPLFFLUFXPVWDQFHVRIHDFKGHIHQGDQW

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          Case 3:17-cr-00265-JAM Document 41 Filed 06/08/18 Page 2 of 5



      & $SSRUWLRQPHQW$PRQJ9LFWLPV

        5HVWLWXWLRQVKDOOEHSDLGWRWKHYLFWLPVLGHQWLILHGLQ6FKHGXOH$DWWDFKHGKHUHWRRQD
VHOHFWRQH

          ✔    SURUDWDEDVLVZKHUHE\HDFKSD\PHQWVKDOOEHGLVWULEXWHGSURSRUWLRQDOO\WRHDFK
               YLFWLPEDVHGXSRQWKHDPRXQWRIORVVIRUHDFKYLFWLPDVVHWIRUWKPRUHIXOO\LQ
               6FKHGXOH$

               SHUFHQWDJHEDVLVDVVHWIRUWKPRUHIXOO\LQ6FKHGXOH$

               VSHFLILHGEDVLVVHWIRUWKPRUHIXOO\LQ6FKHGXOH$

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        7KH'HIHQGDQWVKDOOSD\LQWHUHVWRQDQ\UHVWLWXWLRQDPRXQWRIPRUHWKDQ
XQOHVVUHVWLWXWLRQLVSDLGLQIXOOEHIRUHWKHILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWLQ
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          ✔    $OOLQWHUHVWLVZDLYHGE\WKH*RYHUQPHQWSXUVXDQWWR86&K

               7KHIROORZLQJSRUWLRQRILQWHUHVWLVZDLYHGE\WKH*RYHUQPHQWSXUVXDQWWR
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         ,IDUHVWLWXWLRQSD\PHQWLVPRUHWKDQGD\VODWHLWLVGHOLQTXHQWDQGWKH'HIHQGDQWVKDOO
SD\DVDSHQDOW\DQDPRXQWHTXDOWRSHUFHQWRIWKHSULQFLSDODPRXQWWKDWLVGHOLQTXHQW,ID
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SD\DVDSHQDOW\DQDGGLWLRQDODPRXQWHTXDOWRSHUFHQWRIWKHSULQFLSDODPRXQWWKDWLVLQ
GHIDXOW$OOSHQDOWLHVVKDOODFFUXHXQOHVVZDLYHGE\WKH*RYHUQPHQW

           ✔ $OOSHQDOWLHVDUHZDLYHGE\WKH*RYHUQPHQWSXUVXDQWWR86&K

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          Case 3:17-cr-00265-JAM Document 41 Filed 06/08/18 Page 3 of 5



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        3XUVXDQWWR86&ILQFRQVLGHUDWLRQRIWKHILQDQFLDOUHVRXUFHVDQGRWKHU
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HDUQLQJVDQGRWKHULQFRPHRIWKH'HIHQGDQWDQGDQ\ILQDQFLDOREOLJDWLRQVRIWKH'HIHQGDQW
LQFOXGLQJREOLJDWLRQVWRGHSHQGHQWVWKH'HIHQGDQWLVKHUHE\RUGHUHGWRSD\UHVWLWXWLRQLQWKH
PDQQHUDQGDFFRUGLQJWRWKHVFKHGXOHWKDWIROORZVFRPSOHWHHLWKHU6HFWLRQ$RU%

 ✔     $ 7KHWRWDODPRXQWRIUHVWLWXWLRQLVGXHDQGSD\DEOHLPPHGLDWHO\SXUVXDQWWR86&
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          ✔    XSRQHQWU\RIWKLVMXGJPHQW

               RQWKHIROORZLQJGDWHBBBBBBBBBBBB

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$Q\DPRXQWQRWSDLGLPPHGLDWHO\ZLOOEHSDLG
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               OXPSVXPLPPHGLDWHO\

               LQLQVWDOOPHQWVRIQRWOHVVWKDQBBBBBBBBBBBBSD\DEOHRQWKH
               RIHDFKPRQWK

          ✔    DVVSHFLILHGE\WKH&RXUW
               in installments of not less than $500 per month, or 10% of the defendant’s
               gross monthly income, whichever is greater, payable on the 1st of each month.


       % ,QWKHLQWHUHVWRIMXVWLFHUHVWLWXWLRQVKDOOEHSD\DEOHLQLQVWDOOPHQWVSXUVXDQWWR
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7KH'HIHQGDQWVKDOOFRPPHQFHLQVWDOOPHQWSD\PHQWV

               LPPHGLDWHO\XSRQHQWU\RIWKLVMXGJPHQW

               XSRQUHOHDVHIURPSULVRQ

               RQWKHIROORZLQJGDWHBBBBBBBBBBBB

               DVVSHFLILHGE\WKH&RXUW




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           Case 3:17-cr-00265-JAM Document 41 Filed 06/08/18 Page 4 of 5



     :KLOHVHUYLQJWKHWHUPRILPSULVRQPHQWWKH'HIHQGDQWVKDOOPDNHLQVWDOOPHQWSD\PHQWV
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               DVVSHFLILHGE\WKH&RXUW

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,9   3D\PHQW,QVWUXFWLRQV

        7KH'HIHQGDQWVKDOOPDNHSD\PHQWWRWKH&OHUNRI&RXUW3D\PHQWPD\EHPDGHLQWKH
IRUPRIFDVKFKHFNRUPRQH\RUGHU$OOSD\PHQWVE\FKHFNRUPRQH\RUGHUVKDOOEHPDGH
SD\DEOHWRWKH³&OHUN8QLWHG6WDWHV'LVWULFW&RXUW´DQGHDFKFKHFNVKDOOEHGHOLYHUHGWRWKH
8QLWHG6WDWHV'LVWULFW&RXUW$WWHQWLRQ&OHUN¶V2IILFH141 Church Street, New Haven, CT 06510
DVUHTXLUHGE\86&7KH'HIHQGDQWVKDOOZULWHWKHGRFNHWQXPEHURIWKLVFDVHRQ
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&OHUN¶V2IILFHXVLQJH[DFWFKDQJHDQGVKDOOQRWEHPDLOHG

       7KH&OHUNVKDOOGLVWULEXWHUHVWLWXWLRQSD\PHQWVWRWKHYLFWLPVLGHQWLILHGLQWKLVRUGHULQ
DFFRUGDQFHZLWKWKH'LVWULFW¶V6WDQGLQJ2UGHURQWKH'LVEXUVHPHQWRI5HVWLWXWLRQ3D\PHQWVE\
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           Case 3:17-cr-00265-JAM Document 41 Filed 06/08/18 Page 5 of 5



9    $GGLWLRQDO&ROOHFWLRQ3URYLVLRQV

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PDWHULDOFKDQJHLQWKH'HIHQGDQW¶VHFRQRPLFFLUFXPVWDQFHVWKDWPLJKWDIIHFWWKH'HIHQGDQW¶V
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                New Haven                                  8th              June                     18

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